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Sam A. Schmidt, Esq.
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                                                 December 30, 2024

Honorable Lewis A Kaplan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

               Re: United States v. Matthew Queen
                  24 Cr. 291 (LAK)

Dear Honorable Judge Kaplan:

      A subpoena requesting documents in the possession of the Southwestern
Baptist Theological Seminary (“SWBTS”) was appropriately served upon the
SWBTS on behalf of Matthew Queen that required production by January 6, 2025.
A motion to quash or modify a subpoena was filed on December 26, 2024 by the
attorneys for SWBTS.

     Counsel for Matthew Queen intends to file a response to the motion.
Counsel will file his response later than January 3, 2025.

       Therefore, defendant Matthew Queen requests that he be permitted to file
his response to the motion to quash or modify the subpoena by January 3, 2025.

                                                 Sincerely yours,

                                                        /s/

                                                 Sam A. Schmidt
                                                 Attorney for Matthew Queen
